                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK

NELSON CASTILLO, MARTA VALLADARES,
ARACELY VALLADARES, CARLOS REYES, YOSELY
ESPINAL HENRIQUEZ, individually and on behalf of all   Case No. 17-cv-2972 (AKT)
others similarly situated,

                                       Plaintiffs,

                     - against -

PERFUME WORLDWIDE INC., PERFUME CENTER OF
AMERICA, INC., SHRI PARSHWA PADMAVATI &
CO., LLC, 3OVO LOGISTICS INC., TEXVEL, INC.,
JOHN DOE CORPORATIONS NOS. 1-5, KANAK
GOLIA, PIYUSH GOLIA, PRABHA GOLIA and ROMA
GOLIA,

                                       Defendants.




                  MEMORANDUM OF LAW IN SUPPORT OF
           PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF
              CLASS AND COLLECTIVE ACTION SETTLEMENT




                             Steven John Moser (SM1133)
                                MOSER LAW FIRM, P.C.
                                  5 East Main Street
                             Huntington, New York 11743
                                     631-824-0200
                           steven.moser@moserlawfirm.com
                                                  TABLE OF CONTENTS



TABLE OF AUTHORITIES ................................. ERROR! BOOKMARK NOT DEFINED.
INTRODUCTION AND PROCEDURAL HISTORY ............................................................. 1
SUMMARY OF SETTLEMENT TERMS ............................................................................... 4
I.       PROPOSED CLASS AND MONETARY TERMS ........................................................... 4
II.      PROCEDURAL TERMS ................................................................................................... 6
III.     SCOPE OF RELEASE ....................................................................................................... 8
IV.      CLASS ACTION SETTLEMENT PROCEDURE ............................................................ 9
ARGUMENT ............................................................................................................................. 12
I.       PRELIMINARY APPROVAL OF THE SETTLEMENT IS APPROPRIATE ............... 12
II.      THE PROPOSED SETTLEMENT IS FAIR, REASONABLE AND ADEQUATE. ...... 13
         A.        Litigation Through Trial Would Be Complex, Costly and Long (Grinell Factor 1).
                   ............................................................................................................................... 14
         B.        The Reaction of the Class Has Been Positive (Grinell Factor 2). ......................... 15
         C.        Discovery Has Advanced Far Enough To Allow The Parties To Responsibility
                   Resolve The Case (Grinell Factor 3). ................................................................... 17
         D.        Plaintiffs Would Face Risks If The Case Proceeded (Grinell Factors 4 and 5). ... 17
         E.        The Risks Of Maintaining The Class Action Through Trial (Grinnell Factor 6). 18
         F.        Whether Defendants Could Withstand a Greater Judgment (Grinnell Factor 7). . 20
         G.        The Settlement Fund Is Substantial In Light Of The Possible Recovery And The
                   Attendant Risks Of Litigation (Grinnell Factors 8 and 9). ................................... 20
III.     PRELIMINARY CERTIFICATION OF THE RULE 23 SETTLEMENT CLASS IS
         APPROPRIATE ................................................................................................................ 22
         A.        Numerosity ............................................................................................................ 23
         B.        Commonality......................................................................................................... 23
         C.        Typicality .............................................................................................................. 24
         D.        Adequacy of the Named Plaintiffs ........................................................................ 24
         E.        Ascertainably ........................................................................................................ 25
         F.        Certification Is Proper Under Rule 23(b)(3) ......................................................... 25
CONCLUSION .......................................................................................................................... 26
                                                 TABLE OF AUTHORITIES

Supreme Court Opinions
Amchem Prods. v. Windsor,
  521 U.S. 591 (1997) ............................................................................................................... 24
Epic Sys. Corp. v. Lewis,
   138 S. Ct. 1612 (2018) ............................................................................................ 2, 3, 4, 5, 18


Wal-Mart Stores, Inc. v. Dukes,
  564 U.S. 338 (2011) ......................................................................................................... 17, 22

Second Circuit Opinions
Belfiore v. P&G,
    311 F.R.D. 29 (E.D.N.Y. 2015) ............................................................................................. 21
Brecher v. Republic of Arg.,
   806 F.3d 22 (2d Cir. 2015) ..................................................................................................... 23
Cheeks v. Freeport Pancake House, Inc.,
  796 F.3d 199 (2d Cir. 2015) ..................................................................................................... 8
Clark v. Ecolab, Inc., No. 06 Civ. 5672 (PAC), 2009 U.S. Dist. LEXIS 108736 (S.D.N.Y. Nov.
   17, 2009) ................................................................................................................................. 12
Denney v. Deutsche Bank AG,
  443 F.3d 253 (2d Cir. 2006) ................................................................................................... 23
Detroit v. Grinnell Corp.,
   495 F.2d 448 (2d Cir. 1974) ................................................................................................... 13
Dziennik v. Sealift, Inc.,
   No. 05-CV-4659 (DLI)(MDG), 2007 U.S. Dist. LEXIS 38701 (E.D.N.Y. May 29, 2007) ... 23
Elkind v. Revlon Consumer Prods. Corp.,
   No. CV 14-2484 (JS) (AKT), 2017 U.S. Dist. LEXIS 24512 (E.D.N.Y. Feb. 17, 2017) ...... 21
Fogarazzo v. Lehman Bros.,
  232 F.R.D. 176 (S.D.N.Y. 2005) ............................................................................................ 23
Frank v. Eastman Kodak Co.,
   228 F.R.D. 174 (W.D.N.Y. 2005) .......................................................................................... 12
Garcia v. Pancho Villa's of Huntington Vill., Inc.,
  No. 09-CV-486 (ETB), 2012 U.S. Dist. LEXIS 144446 (E.D.N.Y. Oct. 4, 2012) ................ 19
Green v. Wolf Corp.,
  406 F.2d 291 (2d Cir. 1968) ................................................................................................... 24
Guippone v. BH S&B Holdings LLC, 2016 U.S. Dist. LEXIS 134899 (S.D.N.Y. Sep. 23, 2016)
   ................................................................................................................................................. 17
In re Austrian & German Bank Holocaust Litig.,
    80 F. Supp. 2d 164 (S.D.N.Y. 2000) ...................................................................................... 13
In re Ira Haupt & Co.,
    304 F. Supp. 917 (S.D.N.Y. 1969) ......................................................................................... 16
In re PaineWebber Pshps. Litig.,
    171 F.R.D. 104 (S.D.N.Y. 1997) ............................................................................................ 15
In re Petrobras Sec. Litig.,
    862 F.3d 250 (2d Cir. 2017) ................................................................................................... 23
In re Traffic Exec. Ass’n—E. Railroads,
    627 F.2d 631 (2d Cir. 1980) ................................................................................................... 12
Johnson v. Nextel Commc’ns Inc.,
   780 F.3d 128 (2d Cir. 2015) ................................................................................................... 24
Karic v. Major Auto. Cos.,
  No. 09 CV 5708 (CLP), 2016 U.S. Dist. LEXIS 57782 (E.D.N.Y. Apr. 27, 2016) ............... 16
Kochilas v. Merch. Servs.,
   No. 1:14-cv-00311, 2015 U.S. Dist. LEXIS 135553, (E.D.N.Y. Oct. 2, 2015) .................... 12
Lovaglio v. W & E Hosp. Inc.,
   No. 10 CIV 7351 (LLS), 2012 U.S. Dist. LEXIS 72645 (S.D.N.Y. Mar. 12, 2012) ............. 12
Maley v. Del Global Techs. Corp.,
  186 F. Supp. 2d 358 (S.D.N.Y. 2002) .................................................................................... 15
Marisol A. by Forbes v. Giuliani,
  126 F.3d 372 (2d Cir. 1997) ................................................................................................... 22
Martin v. Waldbaum, Inc.
  (DRH), No. CV 86-0861 (DRH), 1992 U.S. Dist. LEXIS 16007 (E.D.N.Y. Oct. 14, 1992) . 16
Maywalt v. Parker & Parsley Petrol. Co.,
  67 F.3d 1072 (2d Cir. 1995) ................................................................................................... 11
Mendez v. U.S. Nonwovens Corp.,
  314 F.R.D. 30 (E.D.N.Y. 2016) ........................................................................................ 17, 21
Nayal v. HIP Network Servs. IPA, Inc.,
  620 F. Supp. 2d 566 (S.D.N.Y. 2009) .................................................................................... 18
Poplawski v. Metroplex on the Atl., L.L.C.,
  No. 11-CV-3765, 2012 U.S. Dist. LEXIS 46408, 2012 WL 1107711 ................................... 22
Ramos v. SimplexGrinnell LP,
  796 F. Supp. 2d 346 (E.D.N.Y. 2011) .............................................................................. 17, 24
Roach v. T.L. Cannon Corp.,
  778 F.3d 401 (2d Cir. 2015) ............................................................................................. 17, 24
Rui Xiang Huang v. J&A Ent. Inc.,
   No. 09-CV-5587 (ARR) (VVP), 2012 U.S. Dist. LEXIS 184727, 2012 WL 6863918 ......... 16
Salim Shahriar v. Smith & Wollensky Rest. Grp., Inc.,
   659 F.3d 234 (2d Cir. 2011) ............................................................................................. 21, 22
Sierra v. Spring Scaffolding L.L.C.,
   No. 12-cv-05160 (JMA), 2015 U.S. Dist. LEXIS 178006 (E.D.N.Y. Sept. 30, 2015) .......... 20
Singh v. Patel,
   No. 12-CV-3204 (SJF)(ETB), 2013 U.S. Dist. LEXIS 72619 (E.D.N.Y. May 16, 2013) ..... 16
Spicer v. Pier Sixty L.L.C.,
   269 F.R.D. 321 (S.D.N.Y. 2010) ............................................................................................ 22
Sukhnandan v. Royal Health Care of Long Island, L.L.C., No. 12 Civ.
   4216 (RLE), 2013 U.S. Dist. LEXIS 126004 (S.D.N.Y. Sept. 3, 2013) .......................... 12, 25
Tiro v. Pub. House Invs., L.L.C.,
   288 F.R.D. 272 (S.D.N.Y. 2012) ............................................................................................ 22
Wal-Mart Stores, Inc. v. Visa U.S.A. Inc.,
  396F.3d 96, (2d Cir. 2005) ..................................................................................................... 11
Young Ok v. Family Bob,
   No. 20-CV-906 (ENV), 2021 U.S. Dist. LEXIS 15713 (E.D.N.Y. Jan. 26, 2021) ................ 16
Yuzary v. HSBC Bank USA, N.A, No. 12 Civ.
   3693 (PGG), 2013 U.S. Dist. LEXIS 61643 (S.D.N.Y. Apr. 29, 2013) ................................. 11

Federal Court Opinions
In re Warfarin Sodium Antitrust Litig.,
    391 F.3d 516 (3d Cir. 2004) ................................................................................................... 15
Officers for Just. v. Civil Serv. Com.,
   688 F.2d 615 (9th Cir. 1982) .................................................................................................. 20

United States Code
9 U.S.C. § 2 .................................................................................................................................. 18
29 U.S.C. § 201 .............................................................................................................................. 1
29 U.S.C. § 216 .............................................................................................................................. 1
State Cases
Kolchins v. Evolution Mkts., Inc.,
   2018 N.Y. Slip Op. 02209 (N.Y. Mar. 29, 2018) ................................................................... 14

Rules
Fed. R. Civ. P. 23 .................................................................................................................. passim

Other
12 NYCRR 142-2.4 ....................................................................................................................... 1
29 C.F.R. § 785.18 ....................................................................................................................... 16
                        INTRODUCTION AND PROCEDURAL HISTORY1

         This class and collective action was commenced on May 16, 2017 by (1) Nelson Castillo,

(2) Marta Valladares, (3) Aracely Valladares, (4) Carlos Reyes, and (5) Yosely Espinal Henriquez

against Perfume Worldwide, Inc. (“Perfume Worldwide”) and Piyush Golia. See Compl., ECF No.

1.2 Perfume Worldwide is an online retailer of discount fragrances, hair and skin care products,

cosmetics, candles and accessories. The Plaintiffs and those similarly situated worked primarily

at a warehouse and shipping facility located at 2020 Ocean Avenue, Ronkonkoma, New York.

The original complaint asserted four causes of action. The first three causes of action (See Compl.

¶¶ 110-143) sought overtime under the Fair Labor Standards Act (29 U.S.C. § 201, et seq.,

“FLSA”) and overtime and straight wages under the New York Labor Law (“NYLL”) arising from

the Defendants’ uniform policy of not compensating employees for a mandated 20-minute break

period each morning. The fourth cause of action (see Compl. ¶¶ 144-149) sought the recovery of

spread of hours pay under Article 19 of the NYLL and the Miscellaneous Industry Wage Order

(12 NYCRR 142-2.4). Perfume Worldwide and Piyush Golia answered the complaint on July 14,

2017. See ECF No. 45.3

         On August 5, 2017, the Plaintiffs filed a motion for Conditional certification of this action

as a representative collective action pursuant to the FLSA , 29 U.S.C. § 216, on behalf of all current

and former hourly employees of Perfume Worldwide, Inc. who had been employed at any time

since May 16, 2014. See ECF Nos. 11-13. The motion was granted by order dated March 30,

2018. See ECF No. 47. Following notice to the collective class, 189 individuals filed opt-in forms

to join the FLSA collective. During the course of discovery, the Defendants produced class action


1
  Facts set forth in this section are supported by the Declaration of Steven J. Moser in Support of Plaintiffs’ Motion
for Preliminary Approval of Class And Collective Action Settlement.
2
  A copy the Complaint is annexed to the Moser Declaration as Exhibit 1.
3
  A copy of the Answer is annexed to the Moser Declaration as Exhibit 2.


                                                          1
waiver and arbitration agreements for 91 of the individuals who had opted in. At the time that

collective action certification was granted Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612 (2018) had

been argued but not yet decided, and the parties were expecting the Supreme Court to weigh in on

the enforceability of the arbitration agreements.

        Defendants’ Answer to the original complaint asserted that they had acted in “good faith”4

and that they “believed in good faith, and had reasonable grounds to believe that Plaintiffs were

properly paid per the requirements of the FLSA and NYLL.”5 In support of this affirmative

defense, the Defendants produced an email from Barbara Kalish, Esq. of the Scher Law Firm to

Perfume Worldwide’s sister company, Perfume Center of America, Inc. advising that a 20 break

was not compensable. Plaintiffs’ counsel served subpoenas upon the Scher Law Firm and Barbara

Kalish. Following full briefing on the Scher Law Firm’s motion to quash said subpoenas (See

ECF Nos. 56-62, April 26, 2018) Court permitted the depositions of former counsel to proceed on

the limited issue of the 20-minute break. See ECF No. 207 (June 13, 2018). Depositions of Martin

H. Scher, Esq. and Barbara Kalish, Esq. later confirmed that Perfume Center had been advised by

counsel that a 20 minute break was not compensable.

        Following a period of extensive discovery, the Plaintiffs were given leave by Judge Seybert

to file an amended complaint. See Docket Order Dated June 19, 2018. A First Amended

Complaint (“FAC”) was filed on June 20, 2021 (ECF No. 222).6 The FAC added two additional

class representatives in addition to the original five: (1) Vilma Diaz and (2) Jessica Chicas. The

FAC also added the following additional seven defendants in addition to the original two: Perfume

Center of America, Inc., Shri Parshwa Padmavati & Co., LLC, 30V0 Logistics Inc., John Doe


4
  See Answer, 5th Affirmative Defense.
5
  See Answer, 10th Affirmative Defense.
6
  The First Amended Complaint is annexed to the Moser Declaration as Exhibit 3.



                                                       2
Corporations Nos. 1-5, Kanak Golia and Prabha Golia. The FAC also alleged that Defendants’

changed their policy following commencement of the action so as to require two meal periods of

30 minutes each. The FAC asserted that only one of said meal periods was “bona fide” and that

the other 30 minute break was compensable. Finally, the FAC added a fifth cause of action on a

class-wide basis to recover statutory damages for failure to issue hiring notices as required by

NYLL §§ 195(1) and 198. On July 5, 2018 the Defendants requested a pre-motion conference

concerning their anticipated motion to dismiss the claims against the newly added Defendants in

their entirety and to dismiss the newly added fifth cause of action. See ECF No. 262. On July 11,

2018 the Plaintiffs indicated that they had recently become aware of facts which could be used to

supplement the FAC. See ECF No. 268. At a conference on July 27, 2018, Judge Seybert

permitted the Plaintiffs to file a Second Amended Complaint, directed that, in light of the Supreme

Court’s decision in Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, the complaint should not include

any individual who signed an arbitration agreement, and set a briefing schedule for the Defendants’

anticipated motion to dismiss. See ECF No. 272. The Second Amended Complaint was filed on

August 24, 2018 but was not served. See ECF No. 277.7 Plaintiffs filed a motion to stay the claims

of 91 opt-ins subject to arbitration agreements to permit them to file individual arbitrations (ECF

No. 279) which was granted by the Court on September 18, 2018. See ECF No. 280.8 On October

4, 2018, during a conference call with Robyn Weinstein, ADR Administrator for the Eastern

District, the parties agreed to mediate within 60 days with Andrew Kimler, Esq., a member of the

EDNY mediation panel. See ECF No. 281.

           The parties participated in an all-day mediation with Mr. Kimler on November 29, 2018,

at which time a proposed settlement was reached and reduced to writing in the “Term Sheet.”


7
    The Second Amended Complaint is annexed to the Moser Declaration as Exhibit 4.
8
    A copy of the “Order Staying Claims of [the] Opt-In Plaintiffs” is annexed to the Moser Declaration as Exhibit 5.


                                                            3
However, in transitioning the Term Sheet into a full-blown Settlement Agreement, the parties

encountered several disputes arising from different interpretations of the Term Sheet. Each party

thereafter filed a fully-briefed motion to enforce the party’s interpretation of the Term Sheet. See

ECF No. 296-304. On April 12, 2021 the parties requested a stay to see if they could reach an

agreement. ECF No. 305. The stay was granted by the Court (ECF No. 306) and the parties were

finally able to finalize the terms of a settlement. See ECF No. 307 (May 16, 2021).9

       The Court graciously extended the time to file a motion for preliminary approval. See

Docket Orders dated May 17, 2021, July 1, 2021 and July 21, 2021. By this motion, the parties

request preliminary approval of the proposed class and collective action settlement.

                            SUMMARY OF SETTLEMENT TERMS

I.     PROPOSED CLASS AND MONETARY TERMS

       The significant terms of the Settlement Agreement10 are as follows:

       1. Settlement Class. The Parties have agreed to certification of a settlement class

           consisting of “all employees of Perfume Worldwide Inc. who performed work as non-

           exempt employees between January 1, 2011 and December 31, 2018.” See Settlement

           Agreement § 1.28.

       2. Settlement Amount. The Defendants have agreed to pay a maximum of

           $2,250,000.00. Sett. Agmt. § 1.16 (the “Gross Settlement Amount”).

       3. Class Settlement Amount. The Class Settlement Amount is $1,500,000.00. Sett.

           Agmt. §§ 1.7; 3.1(B).




9
 A copy of the term sheet is annexed to the Moser Declaration as Exhibit 6.
10
  The Settlement Agreement and Release (“Settlement Agreement” or “Sett. Agmt.”) is annexed to the Moser
Declaration as Exhibit 7.


                                                   4
         4. Service Awards. At the fairness hearing, the Class Representatives may each seek a

             service award of up to $10,000.00 to be paid from the Class Settlement Amount. Sett.

             Agmt. § 3.3.

         5. Administration Fees. At the fairness hearing, Class Counsel may also seek the

             payment of the Settlement Claims Administrator’s Fees and Costs, and costs and

             expenses associated with the action, to be paid from the Gross Settlement Amount. Sett.

             Agmt. §§ 2.1 & 3.4.

         6. Attorneys’ Fees. Attorneys’ fees have been capped at $750,000.00 (1/3 of the Gross

             Settlement Amount). Sett. Agmt. §§ 3.1(C) & 3.8. Attorneys’ fees not approved by

             the Court will revert to the Defendants. Sett. Agmt. § 1.27.

         7. Payment in Installments. The settlement calls for the payment of the settlement in

             three installments by Perfume Worldwide, Inc. Sett. Agmt. §§ 1.14 & 3.                         The first

             installment, which consists of the amount of the attorneys’ fees approved by the Court,

             will be paid within five days after the “Effective Date.”11 Sett. Agmt. § 3.1(C). The

             second and third installments, each in the amount of $750,000.00, will be paid no later

             than one year and two years after the first payment, respectively. Sett. Agmt. §§ 3.1(D)

             & (E).

         8. Distribution of Class Settlement Amount. In the event that, following the Fairness

             Hearing, the Court finally approves the settlement, the Net Settlement Fund12 will be

             distributed among all Class Members in the following sequence: (1) Named Plaintiffs



11
   The “Effective Date” shall mean the later of (a) thirty (30) days following the Court’s entry of the Order Granting
Final Approval of the settlement if no appeal is taken of the final approval order, or (b) the Court’s entry of a final
order and judgment and after the resolving of any appeals. Settlement Agreement § 1.13.
12
   “Net Settlement Fund” is the remainder of the Class Settlement Amount after deductions for: (i) Service Payments
awarded by the Court to the Named Plaintiffs, (ii) the Settlement Claims Administrators' fees and costs approved by
the Court, and (iii) Class Counsels' fees and expenses approved by the Court.” Settlement Agreement § 1.19.


                                                          5
           shall be paid first; (2) Opt-In FLSA Plaintiffs shall be paid in order from the longest

           length of employment to the shortest length of employment during the Covered Period;

           and (3) The remaining Qualified Class Members shall be paid in order from the longest

           length of employment to the shortest length of employment during the Covered Period..

           Sett. Agmt. § 3.6(A). Each Qualified Class Member’s share of the settlement shall be

           based upon length of employment and whether the Qualified Class Member earned the

           minimum wages. The formula for distribution is as follows: Each Qualified Class

           Member will receive 1 point for every week (or portion of a week) worked for the

           period from May 16, 2011 through December 31, 2018. Each Qualified Class Member

           will receive an additional 3 points for every week during which the employee earned

           the minimum wage between January 1, 2011 and December 31, 2018. The sum of

           points received by all Qualified Class Members will be added together and each

           Qualified Class Member will share proportionately based upon the individual’s points.

           Sett. Agmt. § 3.5(C). Notwithstanding the formula, no Qualified Class Member will

           be awarded a payment that is less than $50.00. Sett. Agmt. § 3.5(B).

II.    PROCEDURAL TERMS

       By this motion, Plaintiff seeks an order (i) certifying the Rule 23 Class for settlement

purposes; (ii) preliminarily approving the terms and conditions of the Settlement Agreement; (iii)

directing the manner and timing of providing Notice to the Class; and (iv) setting the dates and

deadlines for effectuating the settlement, including the dates to object to or opt out of the

settlement, the date of mailing of the Notice and the Fairness Hearing date. A copy of the proposed

Preliminary Approval Order is annexed to the Notice of Motion as Exhibit 1.

       The Court’s preliminary approval will set in motion the following procedures:




                                                6
        1. Class List.          Within 21 calendar days, Defendants will provide the Claims

             Administrator and Class Counsel with the Class List. Settlement Agreement § 2.6(A).

        2. Mailing. Within 28 days after preliminary approval, the Claims Administrator will

             mail the Court-approved notice to each Class Member, in English and Spanish. Sett.

             Agmt. § 2.6(C).13

        3. Dates to Object or Opt-Out. With limited exceptions, Class Members shall have

             thirty (30) days from the date of the initial mailing to either (a) opt-out of (Sett. Agmt.

             § 2.7(A)), or (b) object to (Sett. Agmt. § 2.8(A)) the proposed settlement.

        4. Fairness Hearing. The Fairness hearing will be scheduled by the Court. Sett. Agmt.

             2.9. At least 14 days prior to the Fairness Hearing, Class Counsel will submit a motion

             for final approval of the settlement. Sett. Agmt. § 2.9.

        5. Eligibility. Each Class Member who does not opt-out of the settlement will be mailed

             a settlement check in the sequence described in the agreement. Sett. Agmt. §§ 2.12(C)

             & 3.6(A).

        6. Notification of Final Approval. Within fourteen (14) days after the Effective Date,

             the Claims Administrator will mail to all Qualified Class Members a Notice of Final

             Approval of Class and Collective Action Settlement, in English and Spanish. Sett.

             Agmt. § 3.6(C).14




13
   Class Counsel has agreed to retain Settlement Services, Inc. as the Settlement Claims Administrator. Sett. Agmt. ¶
1.4. The proposed notice of preliminary approval and fairness hearing is annexed to the Moser Declaration as Exhibit
8.
14
   The proposed notice of final approval is annexed to the Moser Declaration as Exhibit 9.



                                                         7
        7. Acceptance Period. Class Members will have 30 days from the date checks are mailed

            by the claims administrator to cash their individual settlement checks. Sett. Agmt. §

            3.6(E). Uncashed checks will revert to the Defendants. Sett. Agmt. § 3.6(E).



III.    SCOPE OF RELEASE

        1. NYLL Release. Each Rule 23 Class Member who does not opt-out of the settlement

            will release defendants from

            all New York Labor Law claims arising out of employment with Perfume Worldwide
            Inc. that were brought in the Litigation or that are based on the same facts and
            circumstances as the claims brought in the Litigation for the period from May 16, 2011
            through December 31, 2018.

Sett. Agmt. § 4.1.

        2. FLSA Release. In addition to the NYLL Release, each individual who has filed a

            consent to join the collective action will release defendants from:

            All Fair Labor Standards Act claims arising out of employment with Perfume
            Worldwide Inc. that were brought in the Litigation or that are based on the same facts
            and circumstances as the claims brought in the Litigation for the period from May 16,
            2011 through December 31, 2018.

Sett. Agmt. § 4.1. Section 11 of the Court-approved notice which was mailed on April 26, 2018

(with the section heading “What happens if I join this lawsuit?”) states:

            If you join this lawsuit, you will be bound by any ruling, settlement, or judgement,
            whether favorable or unfavorable. If there is a favorable resolution or judgement, either
            by settlement or judgement, and you qualify under the law, you will be entitled to some
            portion of the recovery.15




15
 See Memorandum and Order Dated March 30, 2021(ECF No. 47). A copy of the conformed Notice of Collective
Action which was mailed to the collective class is annexed to the Moser Declaration as Exhibit 10.


                                                   8
        The consent form signed by each opt-in plaintiff also states: “I hereby authorize the Moser

Law Firm, PC to represent me with regard to my Federal Overtime Claims. I agree to be bound

by any settlement of this action or adjudication by the Court.”16

        As the collective has already been conditionally certified, the Plaintiffs will make a reqest

for approval pursuant to Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199, 200 (2d Cir. 2015)

in the motion for final approval.

IV.     CLASS ACTION SETTLEMENT PROCEDURE

        Courts have established a defined procedure and specific criteria for settlement approval

in class action settlements that include three distinct steps:

        1. Preliminary approval of the proposed settlement after submission to the Court of a
           written motion for preliminary approval and certification of the settlement class;

        2. Dissemination of mailed and/or published notice of settlement to all affected class
           members; and

        3. A final settlement approval hearing at which class members may be heard regarding
           the settlement, and at which argument concerning the fairness, adequacy, and
           reasonableness of the settlement may be presented.

See Fed. R. Civ. P. 23(e); Herbert B. Newberg & Alba Conte, Newberg on Class Actions

(“Newberg”) §§ 11.22 et seq. (4th ed. 2002). With this motion, the Plaintiffs request that the Court

take the first step – granting preliminary approval of the Settlement Agreement, conditionally

certifying the settlement class, approving the proposed Notice and authorizing the Claims

Administrator to send it.

        The Plaintiffs respectfully submit the following proposed schedule for final resolution of

this matter in the event that the Court finds preliminary approval is appropriate:



16
  A copy of the Consent to Join form signed by the opt-in plaintiffs is annexed to the Moser Declaration as Exhibit
11.



                                                        9
1. Class List. Within 21 calendar days of the Preliminary Approval Order being entered

   by the Court, Defendants shall provide the Claims Administrator and Class Counsel

   with the Class List. Settlement Agreement § 2.6(A).

2. Mailing. Within 28 days after preliminary approval, the Claims Administrator shall

   mail the Court-approved notice to each Class Member with the date of the fairness

   hearing scheduled by the court, in English and Spanish. Sett. Agmt. § 2.6(C).

3. Notices Returned as Undeliverable. If a Notice is returned as undeliverable, the

   Settlement Claims Administrator shall take all reasonable steps to obtain the correct

   address of and will attempt one remailing to each class member. Sett. Agmt. § 2.6(C)

   & (D).

4. Fairness Hearing. At least 14 days prior to the Fairness Hearing, Class Counsel shall

   submit a motion for final approval of the settlement. Sett. Agmt. § 2.9.

5. Final Approval. If the Court grants Plaintiffs’ Motion for Final Approval of the

   Settlement, the Court will issue a Final Approval Order. Sett. Agmt. § 3.6.

6. Effective Date. The “Effective Date” of the Settlement Agreement shall thirty (30)

   days following the Court’s entry of the Order Granting Final Approval of the settlement

   if no appeal is taken. Sett. Agmt. § 1.13.

7. Funding the Settlement.

       a. First Payment. Within five calendar days of the Effective Date, Perfume

            Worldwide, Inc. shall pay the Claims Administrator the total amount of

            attorneys’ fees approved by the Court by deposit into the QSF. Sett. Agmt. §

            3.1(C)

       b. Second Payment. No later than one year after the first payment, Perfume




                                        10
          Worldwide, Inc. shall pay the Claims Administrator $750,000.00, by deposit

          into the QSF. Sett. Agmt. § 3.1(D).

       c. Third Payment. No later than two years after the first payment, Perfume

          Worldwide shall pay the Claims Administrator $750,000.00 by deposit into the

          QSF. Sett. Agmt. § 3.1(E).

8. Distributing the Fund.

       a. First Distribution. No earlier than seven days after receipt of the First Payment,

          the Claims Administrator shall wire the total amount of attorneys’ fees

          approved by the Court to Class Counsel. Sett. Agmt. § 3.2(A).

       b. Second Distribution. Within fourteen days after receipt of the Second

          Payment, the Claims Administrator shall make the following payments from

          the QSF: (1) Claims Administrator’s fees; (2) Court-approved service awards

          to Named Plaintiffs; (3) Court-approved litigation costs; and (4) mail settlement

          payments to Qualified Class Members based upon the priority described in the

          Settlement Agreement.

       c. Third Distribution. Within seven days after receipt of the Third Payment, the

          Claims Administrator will mail settlement checks to the remaining Class

          Members.

9. Acceptance Period. Class Members will have thirty (30) days from the date of mailing

   to redeem their Settlement Checks (the “Acceptance Period”). Sett. Agmt. § 3.6(E).

10. Reversion. 90 days after the date on which the Defendants fund the QSF, the Claims

   administrator shall provide the Defendants’ counsel and Class Counsel (1) bank

   statements for the QSF covering the 90-day period following the receipt of the




                                        11
           settlement payment; and (2) a photocopy of each endorsed check. Seven days after

           providing the bank statements and checks, the Claims administrator shall return the

           balance of funds remaining in the QSF to the Defendants. Sett. Agmt. § 3.6(F).

                                          ARGUMENT

I.     PRELIMINARY APPROVAL OF THE SETTLEMENT IS APPROPRIATE

       The law favors compromise and settlement of class action lawsuits. Wal-Mart Stores, Inc.

v. Visa U.S.A. Inc., 396 F.3d 96, 116 (2d Cir. 2005) (noting the “strong judicial policy in favor of

settlements particularly in the class action context”) (internal citation omitted). The approval of a

proposed class action settlement is a matter for the discretion of the trial court. Maywalt v. Parker

& Parsley Petrol. Co., 67 F.3d 1072, 1079 (2d Cir. 1995). “In exercising this discretion, courts

should give weight to the parties’ consensual decision to settle class action cases because they and

their counsel are in unique positions to access potential risks.” Yuzary v. HSBC Bank USA, N.A,

No. 12 Civ. 3693 (PGG), 2013 U.S. Dist. LEXIS 61643, at *3 (S.D.N.Y. Apr. 29, 2013) (citation

omitted). At the first step in the settlement process, preliminary approval “simply allows notice to

issue to the class and for Class Members to object to or opt-out of the settlement.” Id. (citation

omitted)

       Preliminary approval requires only an “initial evaluation” of the fairness of the proposed

settlement on the basis of written submissions and an informal presentation by the settling parties.

Clark v. Ecolab, Inc., No. 06 Civ. 5672 (PAC), 2009 U.S. Dist. LEXIS 108736, at *14-15

(S.D.N.Y. Nov. 17, 2009). Nevertheless, courts often grant preliminary settlement approval

without requests for a hearing or a court appearance. Sukhnandan v. Royal Health Care of Long

Island, L.L.C., No. 12 Civ. 4216 (RLE), 2013 U.S. Dist. LEXIS 126004, at *1 (S.D.N.Y. Sept. 3,

2013). To grant preliminary approval, the court need only find that there is “‘probable cause’ to

submit the [settlement] to class members and hold a full-scale hearing as to its fairness.” In re


                                                 12
Traffic Exec. Ass’n—E. Railroads, 627 F.2d 631, 634 (2d Cir. 1980); see Newberg § 11.25 (“If the

preliminary evaluation of the proposed settlement does not disclose grounds to doubt its fairness

… and appears to fall within the range of possible approval,” the court should permit notice of the

settlement to be sent to class members).

       “Fairness is determined upon review of both the terms of the settlement agreement and the

negotiating process that led to such agreement.” Frank v. Eastman Kodak Co., 228 F.R.D. 174,

184 (W.D.N.Y. 2005). A presumption of fairness, adequacy, and reasonableness may attach to a

class settlement reached in arm’s-length negotiations between experienced, capable counsel after

meaningful discovery. Lovaglio v. W & E Hosp. Inc., No. 10 CIV 7351 (LLS), 2012 U.S. Dist.

LEXIS 72645, at *1 (S.D.N.Y. Mar. 12, 2012) (granting preliminary approval where settlement

was “the result of extensive, arm’s length negotiations by counsel well-versed in the prosecution

and defense of wage and hour class and collective actions”). “Absent fraud or collusion, [courts]

should be hesitant to substitute [their] judgment for that of the parties who negotiated the

settlement.” Kochilas v. Nat’l Merch. Servs., No. 1:14-cv-00311, 2015 U.S. Dist. LEXIS 135553,

at *8 (E.D.N.Y. Oct. 2, 2015).

II.    THE PROPOSED SETTLEMENT IS FAIR, REASONABLE AND ADEQUATE.

       In evaluating a class action settlement, courts in the Second Circuit consider the nine

factors set forth in Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974), abrogated on other

grounds by Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000). Although the Court

need not evaluate the Grinell factors in order to conduct its initial evaluation of the settlement, it

may be useful for the Court to consider the criteria upon which it will ultimately judge the

settlement. The Grinnell factors are: (1) the complexity, expense and likely duration of the

litigation; (2) the reaction of the class; (3) the stage of the proceedings and the amount of discovery

completed; (4) the risks of establishing liability; (5) the risks of establishing damages; (6) the risks


                                                  13
of maintaining the class action through the trial; (7) the ability of the defendants to withstand a

greater judgment; (8) the range of reasonableness of the settlement fund in light of the best possible

recovery; and (9) the range of reasonableness of the settlement fund to a possible recovery in light

of all the attendant risks of litigation. Grinnell, 495 F.2d at 463. Applied here, the Grinell factors

weigh in favor of approval of the Settlement Agreement and preliminary approval.

         A.     Litigation Through Trial Would Be Complex, Costly and Long (Grinell Factor
                1).

         By reaching a favorable settlement prior to dispositive motions or trial, Plaintiffs seeks to

avoid significant expense and delay and ensure a predictable recovery for the class. “Most class

actions are inherently complex and settlement avoids the costs, delays and multitude of other

problems associated with them.” In re Austrian & German Bank Holocaust Litig., 80 F. Supp. 2d

164, 174 (S.D.N.Y. 2000).

         This case has already been complex, costly, and has spanned 4 years. If the parties were

unable to resolve the differences presented in their motions for enforcement of the term sheet, the

next step would be a request to lift the stay of the competing motions for enforcement of the term

sheet. A decision on the competing motions to enforce might be appealed to the Second Circuit.

It is also within reason that the Court could determine that material terms of the settlement are

missing, and therefore the agreement does not constitute an enforceable contract, bringing us back

to square one. See Kolchins v. Evolution Mkts., Inc., 2018 N.Y. Slip Op. 02209 (N.Y. Mar. 29,

2018).

         Had the parties not resolved the case at mediation with Mr. Kimler, the litigation would

have continued to be complex, costly, and long. Although there has been significant discovery,

the Second Amended Complaint (which asserts joint-employer liability against various entities

alleged to be part of the “Perfume Enterprise”, includes additional individual defendants, and



                                                  14
asserts a fifth cause of action for class-wide wage notice violations) has not been served on the

newly added Defendants. The newly added Defendants already indicated to the Court that they

would file a motion to dismiss the claims asserted against them, and all Defendants similarly

indicated that they would move to dismiss newly added fifth cause of action for wage notice

violations. See ECF No. 262. More specifically, the newly added Defendants assert that there is

no basis for enterprise or employer liability on them. The Defendants also contend that they

furnished wage notices to each class member which complied with NYLL 195(1). See ECF No.

262.

       If the Plaintiffs survived the Defendants’ anticipated motion to dismiss, extensive

discovery would have been necessary. Even if the Defendants were successful in their motion,

and new defendants and claims were not added, party depositions would have to be completed.

       Upon conclusion of discovery, a fact-intensive trial would be necessary.

       Plaintiffs anticipate the need for representative testimony and expert testimony on issues

of liability and damages. A trial on liability and damages would be costly and would further defer

closure. Any judgment might be appealed, thereby extending the duration of the litigation. This

settlement, on the other hand, makes monetary relief available to Class Members in predictable

and efficient manner.

       B.      The Reaction of the Class Has Been Positive (Grinell Factor 2).

       “It is well-settled that the reaction of the class to the settlement is perhaps the most

significant factor to be weighed in considering its adequacy.” Maley v. Del Global Techs. Corp.,

186 F. Supp. 2d 358, 362 (S.D.N.Y. 2002). Here, the Class representatives have expressed their

approval of the settlement terms by signing the Settlement Agreement. See Exhibit 6 to the Moser

Decl. Furthermore, many class members have encouraged Class Counsel to amicably resolve the

competing motions to interpret the term sheet and have expressed approval of the proposed


                                               15
resolution of this case.17 After notice issues and Class Members have had an opportunity to weigh

in, the Court can more fully analyze this factor.




17
     See Moser Declaration ¶ 16.



                                                    16
       C.      Discovery Has Advanced Far Enough To Allow The Parties To Responsibility
               Resolve The Case (Grinell Factor 3).

       The parties have completed enough discovery to recommend settlement. The pertinent

question is “whether counsel had an adequate appreciation of the merits of the case before

negotiating.” In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 537 (3d Cir. 2004) (quoting

In re Cendant Corp. Litig. 201, 235 (3d Cir. 2001)) (internal quotation marks omitted). The parties

have had the opportunity to conduct significant discovery and the Defendants have made available

for inspection class-wide wage and hour documents. Therefore, the parties were well-equipped to

evaluate the strengths and weaknesses of the case.

       D.      Plaintiffs Would Face Risks If The Case Proceeded (Grinell Factors 4 and 5).

       “Litigation inherently involves risks.” In re PaineWebber Pshps. Litig., 171 F.R.D. 104,

126 (S.D.N.Y. 1997). Indeed, “[i]f settlement has any purpose at all, it is to avoid a trial on the

merits because of the uncertainty of outcome.” In re Ira Haupt & Co., 304 F. Supp. 917, 934

(S.D.N.Y. 1969); see also Karic v. Major Auto. Cos., No. 09 CV 5708 (CLP), 2016 U.S. Dist.

LEXIS 57782, at *19 (E.D.N.Y. Apr. 27, 2016).

       While the Plaintiffs believe that they would prevail, a finding of liability is not a certainty.

The primary wage and hour claims asserted arise from alleged policies of failing to compensate

for a mandatory 20 minute break each morning, and a failure to pay spread of hours pay. While

the Plaintiffs believe that they would prevail on the spread of hours claims, only employees earning

the minimum wage would have been entitled to spread of hours pay. See Young Ok v. Family Bob,

No. 20-CV-906 (ENV), 2021 U.S. Dist. LEXIS 15713, at *12-13 (E.D.N.Y. Jan. 26, 2021)

(“employees who earn in excess of the minimum wage ordinarily are not entitled to spread-of-

hours compensation.”); Rui Xiang Huang v. J&A Ent. Inc., No. 09-CV-5587 (ARR) (VVP), 2012

U.S. Dist. LEXIS 184727, 2012 WL 6863918, at *8 (E.D.N.Y. Dec. 3, 2012) (“The majority of



                                                 17
district courts in this circuit are in accord with the New York Department of Labor’s position that

those earning more than the minimum wage are not entitled to spread-of-hours pay.”); Singh v.

Patel, No. 12-CV-3204 (SJF)(ETB), 2013 U.S. Dist. LEXIS 72619, at *5 (E.D.N.Y. May 16,

2013) (“to the extent that plaintiffs were paid above the minimum wage, the spread of hours claim

must be dismissed.”). With regard to the 20 minute break, the regulations state that “[r]est periods

of short duration, running from 5 minutes to about 20 minutes [. . .] must be counted as hours

worked. 29 C.F.R. § 785.18. However, prior counsel pointed to Judge Hurley’s decision in Martin

v. Waldbaum, Inc. (DRH), No. CV 86-0861 (DRH), 1992 U.S. Dist. LEXIS 16007, at *6 (E.D.N.Y.

Oct. 14, 1992), which stated “that breaks of less than twenty minutes are compensable” for the

proposition that a break of at least twenty minutes is not necessarily compensable. Although a

declaration submitted by Piyush Golia appears to concede that a break of 20 minutes was indeed

compensable as a matter of law (See ECF No. 50), a defense to liquidated damages based upon

advice of prior counsel was also viable.

       The proposed settlement alleviates risk associated with establishing liability and damages.

Thus, this factor weighs in favor of preliminary approval.

       E.      The Risks Of Maintaining The Class Action Through Trial (Grinnell Factor
               6).

       A district court may only certify a class action if it concludes after a “rigorous analysis”

that the proposed class meets the requirements of Rule 23(a) and (b). See Roach v. T.L. Cannon

Corp., 778 F.3d 401, 405 (2d Cir. 2015) (“A class may be certified only if, ‘after a rigorous

analysis,’ the district court is satisfied that the prerequisites of Rule 23(a) of the Federal Rules of

Civil Procedure are met.”) (quoting Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1432, 185 L. Ed.

2d 515 (2013)). “The risk of maintaining a class through trial is present in any class action.”

Guippone v. BH S&B Holdings LLC, 2016 U.S. Dist. LEXIS 134899, at *19 (S.D.N.Y. Sep. 23,



                                                  18
2016). In Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011), for example, the Supreme Court

found that “the anecdotal evidence offered by the plaintiffs in the form of 120 affidavits from

current and former employees was insufficient to raise an inference of company-wide

discrimination.” Mendez v. U.S. Nonwovens Corp., 314 F.R.D. 30, 42 (E.D.N.Y. 2016). Of

course, considering that common policies drive payroll practices, wage and hour claims are

“especially suited” to class litigation. Ramos v. SimplexGrinnell LP, 796 F. Supp. 2d 346, 359

(E.D.N.Y. 2011) (“[N]umerous courts have found that wage claims are especially suited to class

litigation—perhaps the most perfect questions for class treatment—despite differences in hours

worked, wages paid, and wages due”).

       Nevertheless, shortly prior to commencement of this action all employees of Perfume

Worldwide signed an arbitration agreement that required individualized, rather than class,

arbitration. The Supreme Court’s decision in Epic Sys. Corp., 138 S. Ct. 1612 (decided May 21,

2018), reinforced the Defendants’ position the arbitration agreements signed by many class

members were enforceable, and that such individuals were not members of any class. Judge

Seybert made it clear at a conference on July 27, 2018 that individuals subject to such arbitration

agreements were not proper parties to this case. The Federal Arbitration Act (“FAA”) recognizes,

however, that an arbitration clause is not enforceable if grounds “exist at law or in equity for the

revocation of any contract.” 9 U.S.C. § 2. ‘“[G]enerally applicable contract defenses, such as fraud,

duress, or unconscionability, may be applied to invalidate arbitration agreements’ in accordance

with § 2 of the FAA.” Nayal v. HIP Network Servs. IPA, Inc., 620 F. Supp. 2d 566, 570 (S.D.N.Y.

2009) (quoting Doctor's Assocs. v. Casarotto, 517 U.S. 681, 687, 116 S. Ct. 1652, 134 L. Ed. 2d

902 (1996)). However, if the Plaintiffs attempted to challenge the validity of the arbitration

agreements, or include those who signed arbitration agreements in the class, they might endager




                                                 19
class certification by injecting an “individualized inquiry” regarding enforceability into the case.

See Spann v. AOL Time Warner, Inc., 219 F.R.D. 307, 311 (S.D.N.Y. 2003) (“Because many

absent class members have executed releases of claims against the Defendants, and consideration

of those releases requires an individualized inquiry, the motion to certify a class is denied.”).

       Indeed, while Plaintiffs believe that they would ultimately prevail on class certification,

the scope of the class may have been severely limited. The present settlement therefore provides

financial benefits to many individuals who otherwise would not have received compensation

(while at the same time offering closure to the Defendants).

       The wage notice class also presents challenges. Plaintiffs contended that the wages notices

furnished to the class were defective, because they were not in the primary language of each

employee. Defendants suggested that such claims were not subject to resolution on a class-wide

basis because the “primary language” of each employee required an individualized inquiry as well

as individualized proof.,

       F.      Whether Defendants Could Withstand a Greater Judgment (Grinnell Factor
               7).

       Plaintiffs have obtained bank account information in the course of discovery that suggests

that Perfume Worldwide could, in fact, withstand a greater judgement. However, a “defendant’s

ability to withstand greater judgment, standing alone, does not suggest that the settlement is

unfair.” Garcia v. Pancho Villa's of Huntington Vill., Inc., No. 09-CV-486 (ETB), 2012 U.S. Dist.

LEXIS 144446, at *13 (E.D.N.Y. Oct. 4, 2012) (quoting Frank v. Eastman Kodak Co., 228 F.R.D.

174, 186 (W.D.N.Y. 2005)).

       G.      The Settlement Fund Is Substantial In Light Of The Possible Recovery And
               The Attendant Risks Of Litigation (Grinnell Factors 8 and 9).

       The settlement amount payable to the Class ($1,500,000.00) represents a good value given

the risks of litigation, even though the recovery could potentially be greater if Plaintiffs succeed


                                                 20
on all claims at trial and survive an appeal. Weighing the benefits of the settlement against the

risks associated with proceeding in the litigation, the settlement amount is reasonable.

       In advance of mediation, Plaintiff’s Counsel prepared damages computations based upon

payroll data received from the Defendants, which was cross-checked with paystubs and other

information in Plaintiff’s possession, as well as Perfume Worldwide’s payroll tax returns. The

damages were estimated as follows:

          Spread of Hours Pay                                              $418,847.33
          Liquidated Damages on SOH Pay                                    $418,847.33
          20 Minute Uncompensated Break                                    $583,950.00
          Prejudgment Interest (SOH Pay)                                   $122,692.36
          Prejudgment Interest (20 Min Break)                              $157,671.00

          Total                                                            $1,702,008.02

       No liquidated damages were included based upon the advice of counsel good faith defense

propounded by the Defendants.        The interest computations would also be higher if these

computations were performed as of today. Of course, these damages are only estimated. Plaintiffs

believed that damages could be in excess of these amounts. But even assuming that the Plaintiffs

could obtain a Judgment in excess of this amount, standing alone would not render the settlement

unfair. “It is well-established that a cash settlement amounting to only a fraction of the potential

recovery will not per se render the settlement inadequate or unfair.” Officers for Just. v. Civil

Serv. Com., 688 F.2d 615, 628 (9th Cir. 1982); see also Karic, No. 09-CV-5708 (CLP), at *30-31.

       The determination of whether a settlement amount is reasonable “does not involve the use

of a ‘mathematical equation yielding a particularized sum.’” Garcia, 2012 U.S. Dist. LEXIS

144446, at *14 (quoting Frank v. Eastman Kodak Co., 228 F.R.D. 174, 186 (W.D.N.Y. 2005)).

“Instead, ‘there is a range of reasonableness with respect to a settlement – a range which recognizes

the uncertainties of law and fact in any particular case and the concomitant risks and costs



                                                 21
necessarily inherent in taking any litigation to completion.’” Garcia, 2012 U.S. Dist. LEXIS

144446 (quoting Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972)). Moreover, when settlement

assures immediate payment of substantial amounts to class members, “even if it means sacrificing

‘speculative payment of a hypothetically larger amount years down the road,’” settlement is

reasonable under this factor. Sierra v. Spring Scaffolding L.L.C., No. 12-cv-05160 (JMA), 2015

U.S. Dist. LEXIS 178006, at *17 (E.D.N.Y. Sept. 30, 2015).

III.     PRELIMINARY CERTIFICATION OF THE RULE 23 SETTLEMENT CLASS IS
         APPROPRIATE

         The Plaintiffs respectfully request that the Court preliminarily certify the following Fed.

R. Civ. P. 23 class for settlement purposes:

             “[A]ll employees of Perfume Worldwide Inc. who performed work as non-exempt
             employees between January 1, 2011 and December 31, 2018.”18

         As discussed below, the Class meets all of the requirements for class certification for

settlement purposes, and Defendants do not oppose provisional certification for the limited purpose

of settlement.19

         “A class action may be certified if it meets the following requirements set forth in Fed. R.

Civ. P. 23(a): (1) the class is so numerous that joinder of all members is impracticable

(‘numerosity’); (2) there are questions of law or fact common to the class (‘commonality’); (3) the

claims or defenses of the representative parties are typical of the claims or defenses of the class

(‘typicality’); and (4) the representative parties will fairly and adequately protect the interests of

the class (‘adequacy of representation’).” Mendez, 314 F.R.D. at 40 (Spatt, J.). “The Court of



18
   See Settlement Agreement § 1.28.
19
   As this Court has pointed out, “[a]lthough the Court's analysis in the class certification context must be rigorous,
courts in the Second Circuit employ a liberal rather than restrictive construction of Rule 23, adopting a standard of
flexibility in deciding whether to grant certification.” Elkind v. Revlon Consumer Prods. Corp., No. CV 14-2484 (JS)
(AKT), 2017 U.S. Dist. LEXIS 24512, at *16-17 (E.D.N.Y. Feb. 17, 2017) (internal quotations omitted).



                                                         22
Appeals for the ‘Second Circuit has recognized a fifth pre-condition to class certification: the

implied requirement of ascertainability.’” Belfiore v. P&G, 311 F.R.D. 29, 64 (E.D.N.Y. 2015)

(quoting In re Scotts EZ Seed Litig., 304 F.R.D. at 407)(citing Brecher v. Rep. of Argentina, 806

F.3d 22 (2d Cir. 2015). In addition to these requirements, a class must meet one of the three

standards set forth in Fed. R. Civ. P. 23(b).

       A.      Numerosity

       Numerosity is satisfied when the class is “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). Numerosity is presumed where a putative class has forty

or more members. Salim Shahriar v. Smith & Wollensky Rest. Grp., Inc., 659 F.3d 234, 252 (2d

Cir. 2011) (citation omitted). Here, there are approximately 1,600 class members. Moser Decl.

       B.      Commonality

       The proposed class also satisfies the commonality requirement. “Commonality requires

the plaintiff to demonstrate that the class members ‘have suffered the same injury.’“ Wal-Mart

Stores, Inc., 564 U.S. at 349-50 (citing Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S. 147, 157, 102

S. Ct. 2364, 72 L. Ed. 2d 740 (1982)). Here, the common policies of failing to compensate for a

mandated 20 minute break and of failing to pay spread of hours pay to minimum wage workers

who worked a spread of hours are policies which generate the same injury. Salim Shahriar, 659

F.3d at 252 (commonality requirement satisfied where “Plaintiffs’ NYLL class claims all derive

from the same compensation policies and tipping practices”). The fact that damages arising from

the “injury” will vary from class member to class member does not change the result. Poplawski

v. Metroplex on the Atl., L.L.C., No. 11-CV-3765, 2012 U.S. Dist. LEXIS 46408, 2012 WL

1107711, at *8 (E.D.N.Y. Apr. 2, 2012) (“While damages owed to each employee will require

individual determinations, this computation issue does not destroy commonality.”).




                                                23
       C.      Typicality

       The typicality requirement is also satisfied. “Typicality requires that the claims or defenses

of the class representatives — here, the named Plaintiffs — are typical of the claims or defenses

of the class members. Tiro v. Pub. House Invs., L.L.C., 288 F.R.D. 272, 277 (S.D.N.Y. 2012); Fed.

R. Civ. P. 23(a)(3). Typicality “is satisfied when each class member’s claim arises from the same

course of events, and each class member makes similar legal arguments to prove the defendant’s

liability.” Marisol A. by Forbes v. Giuliani, 126 F.3d 372, 376 (2d Cir. 1997).

       Here, the claims of the class representatives arise from the same factual and legal

circumstances that form the basis of Class Members’ claims, namely, that Named Plaintiffs and

Class Members were subject to the same break deduction and spread of hours policies. See Spicer

v. Pier Sixty L.L.C., 269 F.R.D. 321, 337 (S.D.N.Y. 2010).

       D.      Adequacy of the Named Plaintiffs

       “The adequacy requirement exists to ensure that the named representatives will have an

interest in vigorously pursuing the claims of the class, and ... have no interests antagonistic to the

interests of other class members.” Denney v. Deutsche Bank AG, 443 F.3d 253, 268 (2d Cir. 2006).

“[O]nly a conflict that goes to the very subject matter of the litigation will defeat a party’s claim

of representative status.” Dziennik v. Sealift, Inc., No. 05-CV-4659 (DLI)(MDG), 2007 U.S. Dist.

LEXIS 38701, at *9 (E.D.N.Y. May 29, 2007) (quoting Martens v. Smith, Barney, Inc., 181 F.R.D.

243, 259 (S.D.N.Y. 1998)). Given that there is no evidence that the Named Plainitffs and Class

Members’ interests are at odds, the adequacy requirement is met. See Sierra Spring Scaffolding

LLC, No. 12-19 (E.D.N.Y. May 8 2015) (finding that the plaintiffs satisfied Fed. R. Civ. P. 23(a)(4)

“because Plaintiffs’ interests [were] not antagonistic or at odds with Class Members”).




                                                 24
        E.       Ascertainably

        Ascertainability requires that a class be “sufficiently definite so that it is administratively

feasible for the court to determine whether a particular individual is a member.” In re Petrobras

Sec. Litig., 862 F.3d 250, 260 (2d Cir. 2017) (quoting Brecher v. Republic of Arg., 806 F.3d 22,

24 (2d Cir. 2015)). “A class is ascertainable when defined by objective criteria . . . and when

identifying its members would not require a mini-hearing on the merits of each case.” Brecher v.

Republic of Arg., 806 F.3d 22, 24-25 (2d Cir. 2015). The court must be able to determine who is

in the class “without having to answer numerous individualized fact-intensive questions.”

Fogarazzo v. Lehman Bros., 232 F.R.D. 176, 181 (S.D.N.Y. 2005) (quotation and alteration

omitted).

        Here, the members of the class are readily ascertainable and identifiable, as all non-exempt

employees of Perfume Worldwide were subject to the same payroll policies which are the subject

of this litigation./

        F.       Certification Is Proper Under Rule 23(b)(3)

        In this case, “questions of law or fact common to class members predominate over any

questions affecting only individual members, and [] a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Rule

23(b)(3)’s predominance requirement is ‘more demanding than Rule 23(a).’” Johnson, 780 F.3d

at 138 (citing Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1432 (2013)). Like the commonality

inquiry, a court examining predominance must assess (1) the “elements of the claims and defenses

to be litigated”; and (2) “whether generalized evidence could be offered to prove those elements

on a class-wide basis.” Id. . Nevertheless, “the fact that damages may have to be ascertained on

an individual basis is not sufficient to defeat class certification’ under Rule 23(b)(3).” Roach v.

T.L. Cannon Corp., 778 F.3d 401, 405 (2d Cir. 2015) (quoting Seijas v. Republic of Argentina,


                                                  25
606 F.3d 53, 58 (2d Cir. 2010)). “[N]umerous courts [in the Second Circuit] have found that wage

claims are especially suited to class litigation—perhaps ‘the most perfect questions for class

treatment’—despite differences in hours worked, wages paid, and wages due.” Ramos, 796 F.

Supp. 2d at 359-60 (collecting cases). Here, despite individualized damages, generalized proof of

the Defendants’ payroll policies, which included the failure to compensate for a 20 minute break

each morning, and failure to pay spread of hours pay, is sufficient to establish liability on behalf

of the entire class. Predominance is met.

       The second part of the Rule 23(b)(3) analysis compares whether “the class action device

[is] superior to other methods available for a fair and efficient adjudication of the controversy.”

Green v. Wolf Corp., 406 F.2d 291, 301 (2d Cir. 1968); Amchem Prods. v. Windsor, 521 U.S. 591,

617 (1997) (“The policy at the very core of the class action mechanism is to overcome the problem

that small recoveries do not provide the incentive for any individual to bring a solo action

prosecuting his or her rights.”).

       Here, Plaintiff and Class Members have limited financial resources with which to prosecute

individual actions. The class device will achieve economies of scale, conserve judicial resources,

preserve public confidence in the integrity of the judicial system by avoiding the waste and delay

of repetitive proceedings and prevent inconsistent adjudications of similar claims. Sukhnandan,

2013 U.S. Dist. LEXIS 126004, at *1.

                                         CONCLUSION

       For the reasons set forth above, the parties respectfully request that the Court (i) certify the

Settlement Class for settlement purposes; (ii) preliminarily approve the terms and conditions of

the Settlement Agreement; (iii) direct the manner and timing of providing Notice to the Settlement

Class; and (iv) set the dates and deadlines for effectuating the settlement and enter the proposed

Order annexed to the Notice of Motion as Exhibit 1.


                                                 26
Dated: Huntington, New York
       August _____, 2021

                              Respectfully submitted,
                              MOSER LAW FIRM, P.C.




                              By: Steven J. Moser
                              5 East Main Street
                              Huntington, New York 11743
                              (631)824-0200
                              steven.moser@moserlawfirm.com




                                27
